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 I
         Nagle: Lily Tseng
                                                                 FILED - SOUTH~R.N DIVISfON
 2                                                               CLERK, U.S. DISTRICT COUPT
         AddteSS: 3118 Paddy I.n

 3       Baldwin Park, CA 91706
                                                                         SEP e ~ ~3
 4~      Phone: (sa6) a4a-6is9
                                                                CENTRAL D   RICT OF CALIFORNIA
 S I     Fax:                                                   gY                     DEPUTY

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         In Pro Per
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   CENTRAL DISTRICT OF CALIFORNIA
 9                                                        CASE NUMBER:
       Julie A. Su
~~

11                                                                 2:19-CV-03546-TJH-PLAX
                                              Plaintiff
12
       KP Poultry Inc., et al.>
13
                                                               MOTION FOR RECONSIDERATION
l4

15                                       Defendant(s).
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       CV-127(09/09)                PLEADING PAGE FOR A SUBSEQUENT DOCUMENT
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   Court's ordered the Tseng's default was the result of her failure to:

   First factor:

       1. Comply with Local Rule 83-2.4, which requires her to keep the Court informed of her current
          address;

           Answer: I am, Lily Tseng, moved to the addresses:

                   1) First Address: 4937 Will Monte Ave, Temple City CA 91780,06/2021-12/2022.
                      moved to this address while the counsels withdraw filed because I did not have
                      money to continue working with them. I did not understand English and did not
                      know how to continue the case without counsels. So, I did not know what I should
                      do at that time. Until a few months later, I attempted to call to the number on the
                      Court's letter to find information. Lucky, one of the Deputy answered the phone
                      and told me that I need to find attorneys and need to update the address. I did
                      send the letter to update the address after I received the instruction from the
                      Deputy. However, I could not find any attorney because I didn't have money. I kept
                      calling the Deputy for advice and tried to find some office willing to help but none of
                      the offices which were introduced accepting my Labor case. In about 6 months
                      later, the Deputy sent a letter to me with information about A Pro Se Clinic which is
                      a ble to help. I called the Clinic immediately but I still have to wait for a few month
                      then I can have the first appointment and continue to wait for a week or more for
                      any next appointments.
                   2) Second Address: 9536 Brockway St, EI Monte, CA 91733, 01/2023-05/2023. I, Lily
                      Tseng, did inform this new address to the Court after moving. However, the owners
                      received the letter from the Court, they did not allow me to stay there anymore
                      because they didn't want to have tenant relating to the Labor case.
                   3) Third Address: 3118 Paddy Lane, Baldwin Park, CA 91706,06/2023-Current. I, Lily
                      Tseng, did inform this new address to the Court after moving.



      2. File pretrial documents;

                   The file pretrial documents was happened during the period of time that I, Lily Tseng,
           did not have counsels helping. I did not have ability to file any documents by myself because
           did not have enough English.

      3. Assist in the preparation ofa joint proposed Final Pretrial Conference Order;

                   Assist in the preparation of a joint proposed Final Pretrial Conference Order was
           happened during the period of time that I, Lily Tseng, did not have counsels helping. I did not
           have ability to assist in the preparation by myself because I did not have enough English.

      4. Attend the Final Pretrial Conference.
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                  Attend the Final Pretrial Conference was happened during the period of time that I, Lily
          Tseng, did not have counsels helping. I did not have ability to attend by myself because I did not
          have enough English.



                  Tseng argued that her mental health was the cause of her prior inaction. However,
          Tseng failed to provide any evidence to substantiate a diagnosed mental health condition or any
          treatment that she may have obtained.

                    went to my doctor for treatment of my mental illness and took prescription since
          February 2021. I am still taking my medicine daily now. (Please see the attachment of Certify
          slip from my Doctor)


   Second factor:

           Tseng has the burden to provide facts that, if true, would constitute a meritorious defense. See
  Aguilar, 782 F.3d at 1107. Here, Tseng merely presented arguments regarding the manner in which the
  Department of Labor investigated the business practices of the Defendants. She did not present any
  facts that, if true, would constitute a meritorious defense to the claims alleged against her. Thus, Tseng
  failed to satisfy the second factor.

            was trying to obtain a few documents which KP Poultry submitted to Department of Labor, the
   attorneys, and the Court before:

          - Pictures from Camera:
          • Picture #1: Inside workplace at 9:48:14 am dated 07/12/2018. The room was cleaned since
            the previous' day. All the table and cutting boards were not touching yet; they were clean
            a nd empty. The floor still clean. This picture showing company was closed the whole day.
          • Picture #2: Inside workplace at 2:59:38 pm dated 07/13/2018. The room was ready for
            cleaning. All table cutting boards were empty of chicken and tools. All employees were left
            for the day. Three employees were there but they were not working and they were ready to
            leave. This picture showing company was worked ful l day and stopped at around 3 pm.
          • Pictures #3: Inside workplace at 12:09:03 pm dated 07/19/2018. The room was ready for
            cleaning. The table cutting board and the barrels were empty. Three employees standing
            there but not working. One of them was cleaning his boots and the cutting tools. This
            picture showing company was worked haft day.

          -   Time cards of KP Poultry employees week ending 07/15/2018 and 07/22/2018:
          •   Laura Rojas: On time card week ended 07/15/18: She did not have any hour for date
              07/12/2018 (closed); She punched time out at 2:25 pm on 07/13/2018. She had total 25:15
               hours for the week. Not any overtime.
              On time card week ended 07/22/18: She did not have any hour for date 07/18/2018
              (closed); she punched time out at 11:30 am on 07/19/2018. She had total 20:30 hours for
              the week. Not any overtime.
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            Jose Aguila Rico: On time card week ended 07/15/18: he did not have any hour for date
            07/12/2018 (closed); he punched time out at 10:40 am on 07/13/2018. He has total 16:45
            hours for the week. Not any overtime.
            On time card week ended 07/22/18: he did not have any hour for date 07/17/2018(either
            off or missed punch),07/18/2018 (closed), and 07/20/2018 (either off or missed punch); he
            punched time out at 9:18 am on 07/19/2018. He has total 6:15 hours for the week. Not any
            overtime.

        •   Yobani Ceron: On time card week ended 07/15/18: he did not have any hour for date
            07/12/2018 (closed); he punched time out at 2:40 pm on 07/13/2018. He has total 23:15
            hours for the week. Not any overtime.
            On time card week ended 07/22/18: he did not have any hour for date 07/18/2018 (closed);
            he punched time out at 9:10 am on 07/19/2018. He has total 19:30 hours for the week. Not
            any overtime.

        •   Hillario Ruiz: On time card week ended 07/15/18: he did not have any hour for date
            07/11/2018 (off) and 07/12/2018 (closed); he punched time out at 2:55 pm on 07/13/2018.
            He has total 15:30 hours and 0:15 overtime for the week.
            On time card week ended 07/22/18: he did not have any hour for date 07/18/2018 (closed);
            he punched time out at 11:31 am on 07/19/2018. He has total 19:00 hours for the week.
            Not any overtime.

        -   Agent's checks payment to KP Poultry employees week ending 07/15/2018 and 07/22/2018:

        •   Laura Rojas: Agent's check gross pay $377.30 for 25.25 hours week end 07/15/18 and
            $373.61 for 20.50 hours week end 07/22/2018.

            Jose Aguila Rico: Agent's check gross pay $232.35 for 16.75 hours week end 07/15/18 plus
            KP's check #4002 $205.95 which was cashed for him on 7/20/18 and reimbursed for Kevin
            Truong on September 2018 bank statement; and $140.86 for 10.50 hours week end
            07/22/2018 plus KP's check #4039 $274.95 which was cashed for him on 7/26/18 and
            reimbursed for Kevin Truong on September 2018 bank statement.

        •   Yobani Ceron: Agent's check gross pay $473.56 for 23.25 hours week end 07/15/18 and
            $574.21 for 19.50 hours week end 07/22/2018.

        •   Hillario Ruiz: Agent's check gross pay $373.97 for 19.50 hours week end 07/15/18 and
            $444.00 for 19 hours week end 07/22/2018.



        -   Added KP's check payment to employees week ending 07/15/2018 and 07/22/2018:

            Laura Rojas: Time cards and payment from Agent's checks were accurate. Not any
            correction nor any check from KP Poultry.
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               Jose Aguila Rico:
                   Added KP's check #3893 amount $377.30 for week ended 07/08/18, which was cashed
                   for him on 7/11/18 and reimbursed for Kevin Truong on September 2018 bank
                   statement.
                   Added KP's check #4002 $205.95 which was cashed for him on 7/20/18 and reimbursed
                   for Kevin Truong on September 2018 bank statement.
                   Added KP's check #4039 $274.95 which was cashed for him on 7/26/18 and reimbursed
                  for Kevin Truong on September 2018 bank statement.
                   Added KP's check #4063 $338.70 which was cashed for him on 7/31/18 and reimbursed
                  for Kevin Truong on September 2018 bank statement.

              Yobani Ceron: Time cards and payment from Agent's checks were accurate. Not any
              correction nor any check from KP Poultry.

              Hillario Ruiz: Time cards and payment from Agent's checks were accurate. Not any
              correction nor any check from KP Poultry.

          -   Cash's receipts document with signature from employee Jose Aguila Rico week ending
              o~/og/loss, o~/Zs/Zo1g,0~/22/Zo1s, and 07/27/2018.

              A September Bank statement: This showing KP Poultry deposited all additional checks from
              employees after paid cash (which money was loan from Kevin Truong in advance)to them
              instead of; Also the cash withdrawal in the same amount to reimburse for the person that
              KP was loan cash from (such as Kevin Truong) on this statement.


   Based on these documents were filed, I did not believe on any claim for less than minimum wage nor
   under payment of overtime from Department of Labor are corrected.




              Signature:                                                 Date:      09/13/2023




              Lily Tseng.
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                                         Wynn Medical Center
                                        Internal Medicine - Rheumatology - Dermatology
                                        9126 Valley Blvd, Suite B, Rosemead, CA 91770
                                        Phone:(626)573-9003 /(626)316-8287 /Fax:(626) 573-0641

                                        Physical Therapy
                                        9120 Valley Blvd. Rosemead, CA 91770
                                        Phone:(626)316-8169 /Fax:(626)573-0641

                                         www.w,ynnmedcentcr.com




                                                      CERTIFY SLIP

    September 12, 2023

    To Whom It May Concern:

    Patient: 7'SENG, L,II.Y
    DOES: 07/18/1966

    This is to certify the above captioned patient was seen at our office on 09/23/2023 for medical
    appointmendvisidcertification.

    Diabnosis:
           (F41.1) Generalized anxiety disorder
           (F32.9) Major depressive disorder, single episode, unspecified
           (G47.00) Insomnia, unspecified
           (M54.16) Radiculopathy, lumbar region
           (M54,12) Radiculopathy, cervical region

    "1'he patient is currently undergoing treatment for anxiety, depression, and nerve pain and is prescribed Duloxetine
    }-1C1 and Gabapentin for symptom management since February 2021.

    Should you have any inquiries regarding the patient's medical conditions, please don't hesitate to reach out to our
    office.




    }{uynh Tran,     D, ACP


    1, Lily Tseng, hereby authorize the release of my confidential health information and understand that Wynn
    Medical Center will not be held responsible for the disclosure of this information.



    Patient's Signature: _ _ _.

                                  Lily Tseng
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 Employee Name:            Rojac, Laura                              Gross Amount:                      5675.05                    Is DD: N
 SSN:                      536097685                                 Total Taxes:                        558.39
 Check Number:             11833217                                  Total beductions:                  5232.93
 Check Date:               07/20/16                                  Net Check:                         5383.72
  Week Nforked                        Customer - C~epa~tment                              Type                    Units          Pay fkate     Tote! Pay
  7%9i'2016 - 7/15;2013               SD9 KP- Co~pa~ate                                   Reg                     Is.'s            513.25      53'.4.56
  7!2+2016 - 7/3E'201II               509 KC -Corporate                                   Reg                     15.00            X13.25      ;251J5
  7,~9/2d16 - 7i 15.2018              SG9 KD - Co~yoiate                                  PiecQ Rate               1.00            f42~74       rS2J4
  7/:,2016 - 7/8!'2913                509 KP • Corporate                                  Piece Ratz               1.OG            =46.Ot!       y16.00
  Tax Namo                      Taxably Gross        Tax Arr,ount    Deduction Type                    Amount       2enefit Type                Amount
  CA WH                                $675.05              ~O.GO    Ad~anczBai~k                   $23b54
  CALIFORNIA SC>t EE                   5675.65              56.75
  Federal Income lax                   cE75.05              30.OU
  FICA EE                              >675.05             bM11.65
  M ED EE                              5675.05              ~9J9

  dan6 NamQ                Acc Type     Routing s      Account s            Amount       Acu~ual Dlan              Aec Uni hs      6¢p Unitr   BalancQ
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 Empioyea Name:        RoJa.s, Laura                               Grocc Amount:                      (373.61                    Is DD: N
 SSN:                  336097605                                   TotalTazes:                         532.32
 Check Number:         1763341$                                    Total Deductions:                     SO.00
 C heck Date:          07/Y7/18                                    Net Check:                         (341.29
  VJeekVlwiced                   (xrsbomer-Depa~tmant                                   Type                     Unitr          Pay Wte     7utal Pay
 ?!SE/2018 - 7/228018                509 KP - Co~9o~ate                                 P.eg                     20.50           f13.25     5271.53
  7Y16/2018 - 7/22/2016              509 KP -Corporate                                  G~ece =.ate               1.00          f101.98     5191.93

 Tax Name                     Taxabt~ Gross         Tax Amount     6eductio~ Type                 Amount          Benefit Type              Amount
  CA WH                               $373.61              ED.00   AdvanczBank                        _... ..~
  CALIFORNIA SDI Ef                   f373.61              83.74
  FederaB Income Tax                  j373.61              SO.UO
 f]G4 EE                              X373.61             ;?3.16                                                                                        ~
  MED EE                              X373.61              55.4
  Bank Name               Acc Type     RoutlAp N      Account *          Amount        Acnval Plan                Acc Units      Dep UnKs   balance
                                                                                       Sick leave_CA                     0.63        0.00      6.65
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                                 #:6361


  Employee Name:           Aq uilar Rico, Jose                        Gross Amount                          515.80                     Is DD: N
  S5N:                     612063039                                  Total lases:                           535.97
  Check Number:            37833185                                   'f otal Deductions:                   5100.86
  Check Uate:              07/20/18                                   Net Check:                           f23g,g7
  week wo~~ed                         Customer - De pa~tm.ent                                Type                     Units           Pay Rat?       Tote! Pay
  7/9{2018 - 7/15/2010                509 KC - CD~Dorate                                     R cg                     i6.7`            ,:3.25        5221.94
  7/2/2016 - 7/81201D                 SD9 KD - Co~po~a to                                    P.eg                     13A0             ~L;3.25       537225
  7%4,!2018 - 7115/?.016              509 K.D -Corpora to                                    Piece ate                 1.CY0           y30.41         530.41
  7{2,~~2Q16 - 7/3/2013               509 KV - Co~poiate                                     Gi ece Rate               1.00            yi1.:C         511.20
  Tax. Name                      T3k3ble Gress        Tax Amount      Geauction Type                       Amount       6.Q~wfit                      Amount
  CA'JJH                                y415.~0              St1.00   Ad~~:anca?arl.                   31:O.II6
  CFLiFORNIA SDS EE                     yi15.30              54.16
  ~etlerai Inccma Taz                   8415.30              SO.GO
  FICk EE                               g415.3U             ;25.73
  MED EE                                8415.50              86.03

  Sank Name                Acc Type      Routing w      Account ~            Amount         Aco-ual Ulan               Acc Units       6ep Unitr     Balance
                                                                                            Sick ~_eave CA                     0.99         t1.0i1       6.7p
Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 16 of 47 Page ID
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 Employee Name:         Aguilar Hito, Jose                          Gross Amount.                       5130.86                     Is DD: N
 SSN:                  612063049                                    total Taxes:                          f12.16
 Check Number;          37833379                                    total Deductions:                      50.00
 C hack Date:          07/27/18                                     Na[Check:                           (328.66
  Week 1Yorl~ed                       Customer - Gepa~trrent                             Type                      Unitr           Pay Rate       Total Day
  7l16/261D - 7/22/2Q 13              509 KD - Ce pgrata                                 pey                       ?i~,50           3;i,'S        5235.13
  7!1612016-7l2?/ZC1~                 509 Y.R-Co~pciat~                                  Pi ece Rata                I.~O             ,..:3          ,1J3
  Tax Name                      Taxable Gross        lax Amount     Deduction Type                     Ar.-~ount     Be~eFt Typa                  Amount ~,
  CA WH                                $140.°~6            50.00    Advancz9ank                          S~~.cO
  CALIFORNIA SDI EE                    $140.80             gl.~l
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  Bank Name                Acc Type     Routing +      Account ~          Rmount        Atcrual Plan                Acc Unite       C%ep Vn~ts    6alan.e
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 18 of 47 Page ID
                                 #:6364



                                                            507 CORALRIDGE PL
                                                            LA PUENTE,CA 41746


    Date:      ,~_~
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  (Feehuj                                   (pnra period)
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 19 of 47 Page ID
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                                                                  507 C4RALRIDGE PL
                                                                  LA PUEN'I'E, CA 91.746


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   Signature &Finger print:
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 20 of 47 Page ID
                                 #:6366




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                                                                          LA PLTEN I'E, CA 91746

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  Return date:
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  My name is:                    ~~-;~ ~,....                               ~,~
 (Hombre)                                                    ---~.--

  I am here to sign that I have
(E'st~y aquf pc~~afirrnar qus                               received cash in the amount of; ~
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 21 of 47 Page ID
                                 #:6367



                                                                            SU7 CORALRIDGE PL
                                                                            LA PU~NTE,CA 91746


  Dati;: ~ ~-µ ~~,for period 7/23/18 try 7/27/18
 (FechuJ                                                      (pars perioaf)
  Return date:                                                                       1
  ('Devol:~cranjecha)
  My name is:                          ~~:~ ~"" ~-- r
  (Hombre)


  I am here to sign that I have received cash in the amount of:$?~~~c~
 (Es1ny ayuf parrsfrrmar que he rccibido en afeclivu por !a candi~ad deJ



  Signature. &Finger print:
 (Firma y sust~ntiv~ l~uell~►)



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         ~~4063                                      20180928                                                                           $338.70
Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 22 of 47 Page ID
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 23 of 47 Page ID
                                 #:6369


 Employee Name:            Ceron, Yobanl                             Gross Amount;                  63,060.30                      Is UO: N
 SSN:                      603222012                                 Total Taxes:                         S91J3
 Check Humber.             37833194                                  Total Ueducilons:                  (487.18
 Check Date:               07/20/ 18                                 Net Check:                         5;81.41
  vaeek wai.ed                        Customer - Depaitme nt                              Type                    Units          Pay Fate       TaFal Pay
  7/9i'2013 - 7/15!201                505 Y,P - Corpciata                                 Reg                     23.29            ;~3.25       :30II.Cfi
  7!2.`2016 - 7!3/'2~SII              509 KG - Co~yoiatz                                  P.eg                    23J5            ;13.25        5314.69
  7/9/201II - 7/15/2616               509 KP- Coipo~~te                                   Piety RatQ               1.U0          ;165.50        5155.50
  7/:J2818 - ]J &I2013                Sd9 KP - Co~~o~ate                                  Piece Rate               1.00          5272.05        5272.05
  Tax Name                      Ta Rable Gross        Tax Amount     Deduction Type                    Amount       3enefit Type                Amount
  CA WH                               gL060.30               50.00   %+d vance3ank                  5437.13
  CALiFO RN1A SUI EE                  s1,G60.30             ;1 .60
  Federal Incomz Tax                  y1,Q60.30              SG.00
  FICA EE                             f1:Ofi0.3G            465.'4
  MED EE                              51,060.30             515.37
  tank Name                Acc Type      R,eutinQ w     A[[aunk s           Amount       Accrual Plsn              kcc Uni hs      G.p Unats    $alanCe
                                                                                         Sic!. Laave CA                   1.57          O.CNJ      9.80
Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 24 of 47 Page ID
                                 #:6370



                              PAY PERIOD ~ _ ~ ~ — j
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 25 of 47 Page ID
                                 #:6371


 Employee Hame:        Ceron, Yobani                                 Gross Amount:                      557{.21                     Is DD: N
 SSN:                  603222012                                     Total Taxes:                        152.96
 Check Number:         17833387                                      Total Deductions:                     60.00
 Check Data:           07/27/18                                      Net Check:                         f521.25
  1Neek Y:m~ked                      Customer - Depa~trnent                               Type                     Unitr           Pay Rate      Tact pay
  7/1613013 - 7/22/2413              SG9 KF - Co+garat=                                   REg                      .3.50            513.25       5235.13
  7i168016 - 7 22/2013               Spy Y.P - Coipc~ate                                  D~xe Rate                 l.u^G          b329.C3       5325.C3
  Tax Name                     Taxable Gross        Tax Amount       Deduction TypQ                   Amount         Benefit Type                Amount
  CA VJH                              $574.21               b0.0U    AdvancaBar:k                       SC,C;`
  CALL FOkNIA iDI EE                  5574.'_1              55.74
  Fedeia? Income Tax                  5574.21              83.29
  FICA EE                             2574.21              335.60
  ME6 EE                              g574,i1               53.'_S

  Bank Name               Acc Type     Routing +       0.cc~unt s          pmounF        Accrual Dlan               Qcc L'nitr      Gep Units    Balar.cz
                                                                                         pick :aa~.~e_CA                    6.62         ~J.00     1G.4_>
Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 26 of 47 Page ID
                                 #:6372




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                                        PAY PEF21ClD
                                        ENDING
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 27 of 47 Page ID
                                 #:6373


 Employee Name:             Ruiz, Hilario                               Goss Amount:                       5762.41                    !s UO: N
 SSN:                       SG6584-t8)                                  Total Tares:                        365.94
 Check Number.              37833219                                    TOWI DeAuctions:                   5320.40
 Check Uate:                Ol/20/18                                    Net Check:                         S37G.07

  Week l~'ai:ed                        Customer - L~epaito5ent                              Type                     lMitr           Pay Ratz     ToWI Pay
  7!9;'2016 - 7/15;2016                SG9 KP - <oiporatP                                   R.g                      ~5.;U            y1..25      525ti.36
  7/2/2016 - 7/6/2033                  509 kP - Co~yoiate                                   R.zg                     16.75            $:3.25      5221.94
  7f9;203i~ - 7t15,~ 2015              509 KP - Co~peratx                                   Pi¢te ?.ate               1.40           51:5.59      5125.59
  7/2/2058 - 713,'2013                 509 kP - Co+yw~ate                                   C~o_fe mate               LCG            5166.5~      5166.50
  Tax Name                       Taxable Gross           Tai Amount     6td uction Type                   hmount       denef t Type               Amount
  CA WH                                 57b~.41               S~].L~U   Ad~anceBar~k                  bs2:.-C
  CALIFORNIA iC%I EE                    5762.41               57.62
  federal Income Taa                    4762.41               50.00
  FICA EE                               5762.41              'ri7.27
  MEG EE                                $762.41              s11.05

  Bank Name                 Act Typa        Routing +s          :
                                                          Account              Amaunt      Acaval Dian                Acc Uni Cs      U¢p Un+ts   fialance
                                                                                           ~ICk ~a3VE_tA                     1..
                                                                                                                               x.1         ~~~~     11.5~~
Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 28 of 47 Page ID
                                 #:6374



                            PAY PERIOD'7 "~ ~ ~ ~
   NO.       ~              ENDING                C?         ~

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                                 HOURS ~CCur,~v~ai~o
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Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 29 of 47 Page ID
                                 #:6375


 Employee Name:         Kulz, Hllarlo                                Gross Amount:                      S~M14.00                      Is DD: N
 SSN:                   SG6584i67                                    Total Taxes:                         438.41
 Check Number.          17833114                                     To[al Ueduc[ions:                    50.00
 C heck Date:           07/27/18                                     Net Check:                         ;405.59
  1Neek Worl.ed                       Customer -Department                                Type                      Urnts           Day Rate      Tatai Pay
  7/IfiJ2013 - 7/221=413              509 Kp - Eo+yorate                                  Reg                       :5.~~?            E13.25      5251.75
  7/16!2015 - 7f22/2016               509 KP - Coiyoiat=_                                 Giece Rate                 S.CG           5192.25       5191.25
  Tax Name                      Taxable Grass         Tax Amount     Deduction Type                    Amount         Benefit Ty~ps                Amount
  CA VJH                                S4i4.00              50.00   Ad•~ancfBar.k                      ~„• ,, ,,                                             i
  CAL[FG P.NIA SD( EE                  5444.00               41.44
                                                                                                                                                              ~,
  r'ede~ai Income Tax                  5444.60               g0,0u
  FICA EE                               yL44.00             5=7.53
  M cC! EE                             j444A0               56.41

  Bank Name                Acc Type     Routing +       Atcounf a'          Amount       Accrual Vlan                 Acc Unit        ~ep Un.ts    bal ance
                                                                                         Sicl. tzavz CA                      U.6?          u.00     .2.31
               Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 30 of 47 Page ID
                                                #:6376                      PAGE:     1
                                                                         ACCOUNT:        230127247    09/28/2018
                                                                         DOCUMENTS:            162
   8oya1 Business Bank
   ~ ~~~                 ~T
 660 South Figueroa Suite 188K
  Los Angeles. California ~Nx117




                                   003933



                                   KP POULTRY INC
                                   (PAYROLL ACCOUNT)                                                      30 O
                                   P.o. a0x 1613
                                   ROSEMEAD CA     91770                                                   162




                  SAN GABRIEL BRANCH                                        TELEPHONE:626-307-7500
                  123 E VALLEY BLVD. STE. 101
                  SAN GABRIEL CA 91776



                                            BUSINESS CHECKING ACCOUNT 230127247


                                                                       LAST STATEMENT 08/31/18        33,935.49
                 MINIMUM BALANCE                          3,054.81-            8 CREDITS             272,680.87
                 AVG AVAILABLE BALANCE                   48,381.13           164 DEBITS              168,213.72
                 AVERAGE BALANCE                         48,381.13     THIS STATEMENT 09/28/18       138,402.64

                                      - - - - - - - -       OTHER CREDITS - - - - - - - - -
                 DESCRIPTION                                                            DATE             AMOUNT
                 CHK 4067 Internet Transfer from BUS 230104067 on 9/05/18 at 09/05                    30,000.00
                     9:44;55
                 MERCHANT CAPTURE DEPOSIT                                                09/12        60,000.00
                 MERCHANT CAPTURE DEPOSIT                                                09/27        60,000.00
                 MERCHANT CAPTURE DEPOSIT                                                09/27        80,000.00
                 MERCHANT CAPTURE DEPOSIT                                                09/28         9,541.50
                 MERCHANT CAPTURE DEPOSIT                                                09/28        10,067.20
                 MERCHANT CAPTURE DEPOSIT                                                09/28        10,819.95
                 MERCHANT CAPTURE DEPOSIT                                                09/28        12,252.22

                                   - - - - - - - - - - CHECKS - - - - - - - - - -
                   CHECK ~~..DATE......AMOUNT CHECK ~~..DATE......AMOUNT CHECK ~~..DATE......AMOUNT
                          '  09/18     10,000.00         3811~~09/28        660.10     3957 09/28        520.15
                            *09/27     31,860.42         3855'°09/28        407.50     3958 09/28        610.00
                        3570''09/28       465.90         3947*09/28          87.10     3959 09/28        541.60
                        3605'09/28        300.25         3950~~09/28        436.90     3960 09/28        702.55
                        3722 09/04     18,360.14         3952 09/28         126.95     3961 09/28        587.50
                        3723 09/04     18,630.16         3953 09/28         157.30     3962 09/28        364.05
                        3724 09/11     10,340.58         3954 09/28         329.15     3963 09/28        307.95
                        3725''09/11    16,331.55         3955 09/28         428.00     3964 09/28        579.00
                        3786'09/28         50.60         3956 09/28         303.45     3965 09/28        224.25
                                            ''` ~` '~`   C O N T I N U E D " '~` 't




-W FDIC                                                                                                           LENDER+
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               Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 31 of 47 Page ID
                                                #:6377                      PAGE:     2
                                                                            ACCOUNT:          230127247   09/28/2018
                                                                            DQCUMENTS:              162
  8oya1 Business Bank
     '~~ ~     ~~ ~T
660 South Figueroa Suite IR88
 Los Angrle,. California 90017
                                 KP POULTRY INC

                 ~a______________________________________________________________________________
                                       BUSINESS CHECKING ACCOUNT 230127247


                                                                      CHECKS - - - - -
                  CHECK ~~..DATE......AMOUNT                CHECK ~~..DATE......AMOUNT    CHECK ~~..DATE......AMOUNT
                     3966 09/28       224.75                   4011 09/28       239.25       4057 09/28        192.50
                     3967 09/28        184.10                  4012 09/28       200.40       4058 09/28        284.50
                     3968 09/28        148.35                  4013 09/28        175.35      4059 09/28        193.40
                     3969 09/28       203.40                   4014 09/28       335.00       4060 09/28         77.55
                     3970 09/28       314.45                   4015 09/28       131.50       4061 09/28        173.25
                     3971 09/28       334.80                   4016'09/28       453.10       4062 09/28       254.10
                     3972 09/28       228.45                   4018't09/28      149.15       4063 09/28       338.70
                     3973 09/28       389.10                   4020 09/28         63.50      4064 09/28       466.55
                     3974'°09/28      149.80                   4021 09/28       250.20       4065 09/28       287.50
                     3976 09/28       225.50                   4022 09/28       161.45       4066 09/28       315.00
                     3977 09/28       151.80                   4023 09/28       132.00       4067 09/28        170.70
                     3978 09/28         72.80                  4024 09/28         94.15      4068 09/28       291.70
                     3979 09/28       149.95                   4025 09/28       102.35       4069 09/28       128.90
                     3980 09/28       530.60                   4026 09/28       153.55       4070 09/28       437.25
                     3981 09/28       123.20                   4027 09/28       199.00       4Q71 09/28       246.82
                     3982 09/28       476.70                   4028 09/28       196.00       4072 09/28       580.55
                     3983 09/28       377.30                   4029 09/28       338.95       4073'09/28       244.25
                     3984 09/28       202.80                   4030 09/28       151.30       4075 09/28       244,95
                     3985 09/28       210.50                   4031 09/28         58.6Q      4076 09/28       326.60
                     3986 09/28       373.00                   4032 09/28       135.30       4077 09/28       240.30
                     3987 09/28         61.60                  4033 09/28       617.78       4078 09/28       345.35
                     3988 09/28       134.75                   4034 09/28       175.70       4079 09/28       166.75
                     3989 09/28       124.65                   4035 09/28       161.95       4080 09/28       163.90
                     3990 09/28       255.85                   4036 09/28       246.95       4081 09/28       374.00
                     3991 09/28       138.35                   4037 09/28        63.80       4082 09/28       415.10
                     3992 09/28       204.55                   4038 09/28       474.65       4083 09/28       467.40
                     3993 09/28       154.70                   4039 09/28       274.95       4084 09/28       263.45
                     3994 09/28       154.55                   4040 09/28       120.60       4085 09/28       173.80
                     3995 09/28       253.35                   4041 09/28        56.20       4086 09/28       208.40
                     3996 09/28       170.85                   4042 09/28       140.80       4087 09/28       168.94
                     3997 09/28       230.25                   4043 09/28       171.05       4088 09/28       310.20
                    3998 09/28        169.55                   4044''09/28      451.45       4089 09/28       514.80
                    3999 09/28        367.15                   4047 09/28       157,40       4090 09/28       631.55
                    4000 09/28        157.70                  4048 09/28        477.95       4091 09/28       100.60
                    4001 09/28        106.30                  4049 09/28        436.80       4092 09/28       333.30
                    4002 09/28        205.95                  4050 09/28        255.06      4093 09/28        336.45
                    4003 09/28        302.20                  4051 09/28        281.57      4094 09/28        176.55
                    4004 09/28       263.45                   4052 09/28       286.75       4095 09/28        355.85
                    4005 09/28        148.95                  4053 09/28       629.00       4096 09/28        404.50
                    4006i~09/28      545.20                   4054 09/28       301.15       4097 09/28       616.65
                    4008 09/28       453.75                   4055 09/28       209.05       4098 09/28        257.50
                    4009't09/28      453.75                   4056 09/28         74.00      4099 09/28       448.00
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                                                              C O N T I N U E D 'r ~~



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Z0030370-DDA                                                                                                            f~~~
               Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 32 of 47 Page ID
                                                #:6378                      PAGE:     3
                                                                                                          ACCOUNT:                           230127247              09/28/2018
     -                                                                                                    DOCUMENTS:                               162
   Royal Business Bank

 660 South Figueroa Suite I R88
  Los Angeles, California 90017
                                  KP POULTRY INC


                                                             BUSINESS CHECKING ACCOUNT 230127247


                                   - - - - - - - - - - CHECKS - - - - - - - - - -
                   CHECK ~~..DATE......AMOUNT CHECK ~~..DATE......AMOUNT CHECK ~~..DATE......AMOUNT
                      4100 09/28       205.15     4103 09/28      162.85    4110''09/28      265.00
                      4101 09/28       237.95     4104 09/28      176.10    4113'09/28       164.45
                      4102 09/28       225.85     4105''09/28     252.70    4126 09/28       159.00

                ('~`) INDICATES A GAP IN CHECK NUMBER SEQUENCE

                                                   OTHER DEBITS
                 DESCRIPTION                                                                                                                      DATE                   AMOUNT
                 PAY 7247 Internet Transfer to CHE 230104067 on 9/27/18 at                                                                       09/27                20,000.00
                    1 1:51:48
                 SERVICE CHARGE                                                                                                                  09/28                         10.00

                                         - - ITEMIZATION OF SERVILE CHARGE PAID THIS PERIOD - - -

                                  TOTAL CHARGE FOR Maintenance Fee:                                                                                      10.00

                                    - - - I?EMIZATION OF OVERDRAFT AND RETURNED ITEM FEES

                              9r~'c:C:Y)tD~C)tJT7F)CJ~CJ~C~CICl~C)FJ~CJ:dc~c~Y~'c~cici:ico~9c:4icir~r~~~tic:iicir~'~~4~c~cd:i<icic~'=icic~t~kx~'cicic;cstiic~':~':4:$~tici<ic:cic~'n:~':

                                                                                                               TOTAL FOR                     I           TOTAL                       ~~
                             "                                                                   I            THIS PERIOD                    I       YEAR TO DATE                    •~

                              ~~ TOTAL OVERDRAFT FEES:       I          5.00     I         $.00
                              ~~------------------------------------------------------------------d~
                              ~~ TOTAL RETURNED ITEM FEES:   I         $.00      I         5.00    '~`
                              'r~'ratr.~,oc~Yi:~f:t~':~:ia~';it:fic~Y~t~t~4ic~co4~t;c~E~:~'r~'c:Y~Yxiciricic~Fir:to'ci:~ti~'c~civo'c~'eicvt~4~t~'c~:~nY~t~4o'cic~toYnt9viciazc.rdcici:




                                                                             DAILY BALANCE - - - - - - -
                DATE...........BALANCE                                  DATE...........BALANCE     DATE...........BALANCE
                09/04         3,054.81-                                 09/12        60,273.06     09/28       138,402.64
                09/05        26,945.19                                  09/18        50,273.06
                09/11           273.06                                  09/27       138,412.64




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  C                                                                                                                                                                                        FMY: nQ,'LML
20030370-ODA                                                                                                                                                                               ~ew neP
 Case 2:19-cv-03546-TJH-PLA
          230127247         Document 293 Filed 09/14/23 Page 33 of 47 ofPage
                                                           PAGE 4         17
                                                                             ID
                                  #:6379




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              Pnr w fin«
              ~rMrM ~63 ?DLRISBY.I~C                                              ~ S ~.,D(W ~                     Ur.Lr o~                     ~_~~   I

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               ~:Ltt0450~7.. r                290i27247~     -L'-                                                    r 122045037C ~ 2301I7247r                          045
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              ~~                     20180918                                       $10,000.01                      ~~                     20180927                                  $31,860.42
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           Case 2:19-cv-03546-TJH-PLA Document 293 Filed 09/14/23 Page 47 of 47 Page ID
                              THIS FORM IS PROVIDED TO HELP YOU BALANCE
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                                FAIR CREDIT REPORTING ACT FURNISHING NEGATIVE INFOfiMATION NOTICE
We may report information about your account to credo bureaus. Late payment. missed payment. or other defaults on your account may de reflected on
your credit report.
